          IN THE UNITED STATES DISTRICT COURT
       FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


STUDENTS FOR FAIR ADMISSIONS,
INC.,
         Plaintiff,
                                     Civil Action No. 1:14-cv-954-LCB-
      v.
                                     JLW
UNIVERSITY OF NORTH
CAROLINA, et al.,
         Defendants.


            BRIEF IN OPPOSITION TO DEFENDANTS’
              MOTION FOR SUMMARY JUDGMENT



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                                  INTRODUCTION
      In seeking summary judgment, Plaintiff Students for Fair Admissions (“SFFA”)

explained that, although summary judgment is sometimes inappropriate in cases like

this, it is warranted here because “the record ‘is so one-sided that [SFFA] must prevail

as a matter of law.’” Brief in Supp. Pl.’s Mot. for Summ. J. (“SFFA Br.”) at 1 (quoting

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251-52 (1986)). In light of UNC’s opening

brief, it is clear that to the extent there any factual disputes in this case, none of them

are material. In short, someone is entitled to summary judgment.

       That someone is SFFA. UNC acknowledges: (1) that it uses race in admissions

for the benefit of underrepresented minority (“URM”) applicants; (2) that those racial

preferences are massive; (3) that SFFA’s expert can use a formula to predict more than

90% of admissions decisions; and (4) that SFFA has proposed a race-neutral alternative

that increases racial diversity, increases socioeconomic diversity, and increases the

average GPA of the admitted class. Based on these undisputed facts, SFFA is entitled

to judgment as a matter of law.

       Rather than disputing these facts, UNC offers a series of flawed legal arguments

based on its misinterpretation of Supreme Court precedent. The Court must decide

these important legal disputes. But once the Court does, it will become clear that UNC

cannot meet its heavy burden of proving that its use of race in admissions in narrowly

tailored. Under the appropriate legal framework, there can be no doubt that UNC’s use

of race is not individualized, that racial preferences dominate its admissions decision


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for URM applicants, and that UNC has workable race-neutral alternatives to the use of

racial classifications. In all events, UNC is not entitled to summary judgment.

                              STANDARD OF REVIEW
       SFFA’s brief in support of its own motion for summary judgment sets forth the

applicable standard of review. SFFA Br. 27.

                       COUNTERSTATEMENT OF FACTS
       This matter is before the Court on cross-motions for summary judgment. Each

party has set forth the facts that are material to resolution of this dispute in accordance

with L.R. 56.1(d) and (e) and Section C of the Court’s civil case policies. SFFA Br. 2-

27; UNC Br. 5-23. SFFA’s statement of facts, incorporated by reference, identifies the

parties’ factual disputes; any disputes that are pertinent to adjudicating these cross-

motions are further addressed herein. But as explained below, those disputes are not

“material” because they will not “affect the outcome of the suit under governing law.”

Jacobs v. N.C. Admin. Office of the Courts, 780 F.3d 562, 568 (4th Cir. 2015) (citations and

quotations omitted). And they are not “genuine” because “the record taken as a whole

could not lead a rational trier of fact to find” for UNC on those factual disputes. FDIC

v. Cashion, 720 F.3d 169, 181 (4th Cir. 2013) (citations and quotations omitted).

                                     ARGUMENT
       UNC’s summary judgment motion should be denied. It is SFFA—not UNC—

that is entitled to summary judgment because of the overwhelming evidence that UNC

is violating federal law. SFFA Br. 27-38. But even if the Court disagrees, the record


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evidence clearly is not so one-sided in UNC’s favor as to entitle UNC to summary

judgment.

I.     UNC is not entitled to summary judgment on its argument that its use of
       race is narrowly tailored.
       UNC is not entitled to summary judgment on SFFA’s claim that UNC uses race

as more than a “plus” factor for URM applicants. UNC Br. 27-34. The record evidence

instead shows that SFFA is entitled to summary judgment. SFFA Br. 28-34. But if the

Court disagrees, then a trial is needed to resolve genuine factual disputes that are

material to resolution of this issue.

       As UNC concedes (at 25-28), the deference to which it is entitled is quite limited.

SFFA Br. 28-30. UNC receives “some” deference on only one issue: whether “a diverse

student body would serve its educational goals.” Fisher v. Univ. of Tex. at Austin (Fisher

I), 570 U.S. 297, 310-11 (2013). UNC receives no deference on whether it is actually

pursuing “the benefits of a student body diversity that encompasses a broad array of

qualifications and characteristics of which racial or ethnic origin is but a single though

important element.” Id. at 314-15. “Strict scrutiny does not permit a court to accept a

school’s assertion that its admissions process uses race in a permissible way.” Id. at 313.

The Supreme Court also “clarified” that universities receive “no deference” on whether

their use of race is “narrowly tailored.” Fisher v. Univ. of Tex. at Austin (Fisher II), 136 S.

Ct. 2198, 2208 (2016) (citing Fisher I, 570 U.S. at 311-12).




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       Here, UNC claims that it has made an “academic judgment ... that pursuing the

educational benefits of diversity is integral to fulfilling its mission to prepare the next

generation of leaders.” UNC Br. 27. Under controlling precedent, UNC “has a

compelling interest in fostering diversity.” Id. at 28. But any suggestion that SFFA is

not contesting whether UNC made an academic judgment to pursue the educational

benefits of diversity is wrong. The record contradicts UNC’s assertion and shows that

the university does not use race to achieve academic or educational goals. UNC uses

race heedless of the demonstrated harm it causes to the very applicants it purports to

benefit. SFFA Br. 28-31; see also Fisher I, 570 U.S. at 331-34 (Thomas, J., concurring).

       Regardless, UNC’s use of race is not narrowly tailored for at least three reasons.

SFFA Br. 30-34. First, UNC does not use race to achieve “critical mass.” SFFA Br. 30-

31. Indeed, the phrase “critical mass” does not even appear in UNC’s brief. That should

be decisive. The “critical mass” interest was the only basis for upholding the University

of Michigan Law School’s use of race as narrowly tailored. See Fisher v. University of Texas

at Austin, 758 F.3d 633, 643 (5th Cir. 2014) (“Grutter approved the University of

Michigan Law School’s goal of ‘attaining a critical mass of under-represented minority

students.’”), aff’d, Fisher II, 136 S. Ct. 2198 (2016); Lomack v. City of Newark, 463 F.3d

303, 310 (3d Cir. 2006) (same). Nor is there any doubt that UT Austin relied on “critical

mass” as its diversity goal. See Fisher, 758 F.3d at 644 (“UT Austin had achieved

sufficient diversity to attain the educational benefits of diversity, a critical mass, before

it adopted a race-conscious admissions policy”); id. at 667 n.9 (Garza, J., dissenting)

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(“‘[C]ritical mass’ represents the goal the University purports to seek”). There is no

other goal the Supreme Court has endorsed as narrowly tailored “to achieve student

body diversity.” Grutter v. Bollinger, 539 U.S. 306, 333-35 (2003). Because UNC’s use of

race is not narrowly tailored to achieve that goal, its use of race is unlawful.

       Second , UNC’s use of race is mechanical and, as a consequence, “operates as an

implicit formula” in violation of Gratz and Grutter. SFFA Br. 33-34. UNC does not

acknowledge or directly address this record evidence. UNC instead argues (at 11-12,

29-30) that it is immune from this charge because it does not use an explicit formula.

According to UNC, its use of race is individualized because the record does not reveal

that it “uses quotas, engages in racial set asides or point allocations, or intentionally

discriminates against applicants based on race.” UNC Br. 30. But Supreme Court

precedent is not so easily evaded.

       An implicit formula no more complies with federal law than does an explicit

formula. The issue is not whether UNC is candid about the formulaic way it uses race

in its admissions process. The issue is whether the record evidence shows that UNC is

actually using race in a formulaic way. After all, the “the purpose of strict scrutiny is to

‘smoke out’ illegitimate uses of race” that are lurking beneath the surface of a

purportedly legitimate policy. City of Richmond v. J.A. Croson Co., 488 U.S. 469, 493 (1989);

accord Adarand Constructors, Inc. v. Pena, 515 U.S. 200, 225-26 (1995). UNC’s assertion (at

29-30) that SFFA neither contests that its use of race is “individualized and holistic”

nor will “offer expert opinions contending otherwise” is inaccurate. SFFA does not

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dispute that UNC’s system purports to be holistic. But it is UNC that cannot dispute

that “Professor Arcidiacono’s model predicts over 90% of both in-state and out-of-

state admissions decisions” because “‘UNC’s undergraduate admissions process is very

formulaic: the various characteristics of applicants can be assigned numerical scores and

added up; those who are above some threshold are admitted, and the rest are rejected.’”

SFFA Br. 33 (quoting Arcidiacono Rebuttal 24). And it is this uncontradicted

evidence—not UNC’s self-serving characterization of its admissions system—that is

decisive. Contrary to UNC’s assertion, then, no reasonable factfinder could find that it

uses race as a “flexible factor among many in” the “admissions process.” UNC Br. 29.

      The closest UNC comes to responding is its assertion (at 30) that its use of race

does not “guarantee admission” for URMs. Foremost, SFFA does not have to construct

a model that predicts 100% of admissions decisions. See Gratz v. Bollinger, 539 U.S. 244,

273 (2003). If a statistical model can predict over 90% of admissions decisions, the use

of race in admissions is mechanical under any legitimate definition. Nor does limited

individualized treatment of a few applicants alter anything. There was a “possibility of

an applicant’s file being flagged for individualized consideration” even within the

points-based system the University of Michigan employed. Id. But that did not make

the use of race individualized. An admissions process is impermissibly mechanical when

a formula can explain the “bulk of admissions decisions” year over year. Id. at 274. That

is the case here. Whether or not it guarantees admission for every URM applicant, UNC



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is using an implicit formula that “automatically gives a plus for an applicant’s race.”

UNC Br. 30.

       Third , UNC uses race as more than a “plus” factor in deciding whether to admit

URMs. SFFA Br. 31-34. UNC responds (at 31-32) that in exposing the massive

preferences it gives to URMs, Professor Arcidiacono inappropriately excluded some

applicants from his statistical model. According to UNC, the model “must address the

applicant pool in its entirety” because “‘[t]he fact that race consciousness played a role

in only a small portion of admissions decisions should be the hallmark of narrow

tailoring, not evidence of unconstitutionality.’” UNC. Br. 32 (quoting Fisher II, 136 S.

Ct. at 2212). By making this modeling choice, UNC argues, Professor Arcidiacono

“ignore[d] the central question here: whether race was a predominant factor in the overall

admissions system.” Id. (citation omitted). UNC’s position is legally flawed, factually

misleading, and irrelevant.

       The legal inquiry is not about determining the “overall” role of race in admissions

decisions. As the Supreme Court has explained, the question is whether, for an applicant

who receives a racial preference, race is “the defining feature of his or her application,”

Grutter, 539 U.S. at 337 (emphasis added), or whether race was instead “a ‘factor of a

factor of a factor’” in the admissions decision, Fisher II, 136 S. Ct. at 2207. That question

can only be answered, in turn, by determining whether, for those applicants, UNC “uses

race in an outsized way that negates the [allegedly] individualized nature of its holistic

admissions process.” UNC Br. 31 (citing Compl. ¶ 199). Looking at what “overall” role

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race plays in an abstract sense sheds no light on the answer. That does not mean the

legal inquiry must focus on individual admissions decisions. UNC Br. 30. But it does

mean that UNC is not permitted to dilute the role of race in admitting URMs by

offsetting the preference against the lack of a role race plays in admitting white and

Asian-American applicants.

      Imagine, for instance, if UNC stopped giving a racial preference to Hispanic

applicants and then commensurately increased the racial preference it gives to African

Americans. UNC could not argue that the role of race in admitting African Americans

has not increased because the use of race across the “entire admissions program,” UNC Br.

31, remained the same. Such an argument would be meritless on its face. Yet that is

what UNC asks the Court to accept in arguing that “race is not a dominant factor in

admissions” once the effect of race in admissions is evenly divided across the “entire

applicant pool.” Id. at 32. Such an approach contradicts Supreme Court precedent and

should be rejected for that reason alone.

      It also contradicts common sense. Assume, for example, that recruited basketball

players are admitted irrespective of any other factor (assuming they meet basic

qualifications). UNC would have the Court determine that the effect of being a

recruited basketball player has almost no effect on admissions as a whole and,

accordingly, is not a dominant factor in its admissions system. But the truth of course

is that being a recruited basketball player would be the “defining feature” for those

applicants. That is because to evaluate whether a certain attribute is a dominant factor

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in admissions, the Court must evaluate how that attribute affects those who receive a

preference for possessing it. Here, the attribute is being African American or Hispanic.

And for those who possess that attribute, it plays a dominant role in whether they are

admitted to UNC.

      Moreover, UNC’s suggestion (UNC Br. 32) that Professor Arcidiacono’s

calculation of the marginal effect of race is somehow unreliable because it does not

include so-called “perfect predictions” is misleading and, at bottom, a meritless

argument. Professor Arcidiacono’s preferred model includes 162,341 applicants to

UNC over the six-year period for which UNC produced admissions data. See

Arcidiacono Rebuttal Rep. at Table A4.1.R & A4.2.R. The model reveals that some sets

of applicant characteristics result in “perfect predictions” where, for example,

particularly low ratings may guarantee rejection, or particularly high ratings may

guarantee admission, regardless of race. See Arcidiacono Decl. [Doc. 160], Ex. B

(“Arcidiacono Rebuttal Rep.”) at 29 n.20. Professor Arcidiacono did not include these

“perfect predictions” when calculating the average marginal effect of race.

      This is the purported problem that UNC identifies in claiming that Professor

Arcidiacono’s calculation of the average marginal effect of race “is based on a non-

representative subset of applicants.” UNC Br. 32. UNC puts great emphasis on this

point; indeed, it is UNC’s primary attack. And UNC refers to Professor Arcidiacono’s

calculation of the marginal effect of race in scare quotes as “evidence”—as if to imply

this was a sleight of hand. But Professor Arcidiacono’s treatment of “perfect

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predictions” is standard practice. Indeed, Stata—the analytics software both experts

used—automatically excludes “perfect predictions” when computing the average

marginal effect of race. See Stata margins, available at https://www.stata.com/

manuals13/rmargins.pdf.

        Even setting aside the fact that Professor Arcidiacono’s treatment of perfect

predictions is standard practice, the key problem for UNC is that the sum total of those

perfect predictions in Professor Arcidiacono’s preferred model is only 507 applicants—

or less than one-third of one percent of the 162,341 applicants in the model. It does not take a

statistician to recognize that including 507 more applicants would have no meaningful

impact on the average marginal effect of race on admission. 1 UNC’s misleading

characterization of 99.7% of UNC applicants as a “subset”—and a “non-

representative” one at that—just proves how weak UNC’s position is and underscores

why SFFA is entitled to summary judgment. No rational factfinder could rely on this as

a basis for rejecting Professor Arcidiacono’s analysis.

        UNC’s criticism (UNC Br. 33) of Professor Arcidiacono’s transformational

analysis, SFFA Br. 32, is equally misleading and meritless. As Professor Arcidiacono

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         Professor Hoxby proves the point. After Professor Arcidiacono explained that she erred by
including in her model applicants who did not complete or who had withdrawn their applications,
Professor Hoxby correctly removed these applicants from her model. Doc. 166-9, EX58 at 19-20 &
n.76. There are 10,612 such applicants over the six-year period, and 7,577 of them in the four years
that Professor Hoxby analyzed. Arcidiacono Decl. [Doc. 160], Ex. A (“Arcidiacono Rep.”) at Tables
A2.1 & A2.2. Professor Hoxby stated that removing these 7,577 applicants from her model—a group
approximately 15 times the size of the number of perfect predictions in Professor Arcidiacono’s preferred model—has
no meaningful impact on calculating the effect of race on admissions. Doc. 166-9, EX58 at 19-20 &
n.76.


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demonstrated, changing an applicant from non-URM to URM status (while keeping all

other characteristics the same) would have a dramatic effect on that applicant’s chances

of admission. Consider, for example, “a male, non-FGC Asian-American applicant

whose observed characteristics would imply a 25% chance of admission.” Arcidiacono

Rebuttal Rep. at 22. “If he was an in-state applicant, his probability of admission would

increase to over 67% (i.e., more than double) had he been treated like an in-state

Hispanic applicant, and to over 90% (more than triple) had he been treated like an in-

state African American applicant.” Id. “If he was an out-of-state applicant, his

probability of admission would increase to over 86% had he been treated like an out-

of-state Hispanic applicant and over 99% had he been treated like an out-of-state

African-American applicant.” Id.

      Notably, UNC does not quarrel with Professor Arcidiacono’s calculations, nor

his conclusion that “[s]imply changing this hypothetical Asian-American applicant’s

race to either Hispanic or African-American … thus would transform him from an

unlikely admit to an almost certain admit.” Id. at 22. Nor does UNC try to characterize

this dramatic swing in admission chances as something less than a “dominant” effect

of race on admissions. Id. at 1. Rather, UNC argues that Professor Arcidiacono’s

example of an applicant with a 25% chance of admission is somehow “not

representative” of “outcomes across the entire admissions process,” that is, of the

overall applicant pool. UNC Br. 33.



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        As an initial matter, an admissions process that makes race such a dominant

factor for any applicant is constitutionally suspect. Whether Professor Arcidiacono’s

example is representative of the overall applicant pool is beside the point. But Professor

Arcidiacono’s example is in fact highly representative of the overall pool. UNC’s

average admit rate for its entire applicant pool across the six-year period for which UNC

produced applicant data is 25.61%. See Arcidiacono Rep. 19, Table 2.1. So the example

of an applicant with a 25% chance of admission in fact reflects almost exactly the same

likelihood of admission as “outcomes across the entire admissions process.”2

        In contrast, Professor Arcidiacono’s criticisms of Professor Hoxby’s statistical

work are well-founded. To begin, Professor Hoxby fails to separately analyze in-state

and out-of-state applicants—notwithstanding the fact that a UNC study produced after

the close of fact discovery revealed that, when the entire applicant pool is taken as a

whole, residency is the variable with the largest impact on admission. Doc. 167-5, EX71

173:7-174:7; Doc. 166-15, EX64 25:5-18. By failing to account for residency, Professor

Hoxby’s model fails to capture the way different factors (including race and legacy)

interact with residency. Her models thus are infected by large inaccuracies in their


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          Professor Arcidiacono showed similar dramatic effects for hypothetical non-URM applicants
with a 10% chance of admission. See Arcidiacono Rebuttal Rep. at Tables 4.1.R & 4.2.R. UNC also
attacks this example as “non-representative,” (UNC Br. 32-33), but an applicant with a 10% chance
of admission approximates the average admit rate for the entire subset of out-state applicants for the
six-year period and thus fairly reflects that group of applicants. See Arcidiacono Rep. at 19, Table 2.1.
These same admit rates demonstrate that UNC is wrong to suggest that a better example would be
the median applicant. Indeed, among out-of-state applicants, the median applicant is a near-certain
reject and thus does not represent “outcomes across the entire admissions process.” UNC Br. 33.


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prediction of URM admit rates both for in-state and out-of-state applicants. See

Arcidiacono Decl. [Doc. 160], Ex. C. (“Arcidiacono Reply Rep.”), at Table 2.7. Indeed,

Hoxby’s prediction of the admit rate for out-of-state African-American applicants is off

by more than 23%. See id. As a result of these and other flaws, see, e.g., Arcidiacono

Rebuttal Rep. 3-20, Professor Hoxby’s model is clumsy and inaccurate. Whereas

Professor Arcidiacono’s model perfectly matches the actual admit rates in all six years

for which UNC produced applicant data, Professor Hoxby misses the mark (sometimes

badly) in each of the four years she analyzes. Arcidiacono Reply Rep. Tables 2.6 & 2.7.

       In any event, these dueling expert criticisms are irrelevant. Professor Hoxby’s

own work confirms that UNC’s racial preferences for URMs are massive. First, in order

to determine the impact that UNC’s racial preferences have on admissions, she

observed the effect on non-URM applicants of equalizing admission rates for URM and

non-URM applicants within deciles using of an “admissions index” she derived from

Professor Arcidiacono’s admissions model. Curiously, though, Professor Hoxby did

not report the effect of her analysis on URM applicants. That is likely because the

underlying data disclosed with her reports reveals that UNC’s “racial preferences

account for 70% of out-of-state URM admits” or “2,399 URM admits over the six-year

period.” Arcidiacono Reply Rep. 7-8.3 In other words, Professor Hoxby’s own work

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          More broadly, Professor Hoxby’s admit-rate equalization analysis reveals that 30% of in-state
URMs and 57% of out-of-state URMs are admitted on account of race. See Arcidiacono Reply Rep.
58-59. And in reality, UNC’s racial preferences are even larger, as Professor Hoxby’s analysis
“substantially understates” their magnitude. Arcidiacono Reply Rep. 60; see generally id. at 55-62. In
reality, UNC’s racial preferences “account for nearly a fourth of admissions for in-state Hispanic

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reveals that approximately 400 URM applicants are admitted each year on account of

race—from the out-of-state pool alone.

         Second, Professor Arcidiacono used Professor Hoxby’s model to show that race

is a determinative factor for many African-American and Hispanic applicants. Taking

the entire set of admitted students from Professor Hoxby’s preferred model, Professor

Arcidiacono calculated their average probability of admission with racial preferences

“turned off.” See Arcidiacono Reply Rep. 48. This analysis showed that removing racial

preferences would transform large numbers of URM admitted students into likely

rejects. For in-state admits—again, under Professor Hoxby’s own preferred model—

more than one-eighth of Hispanic admits and more than one-third of African-American

admits would have been likely rejects if not for UNC’s racial preferences. And for out-

of-state admits, more than half of Hispanic admits and nearly 85% of African-American

admits would have been likely rejects without racial preferences. See id. at 49 & Table

3.1.

         Third, Professor Hoxby claims that SFFA’s expert on race-neutral alternatives

(Richard Kahlenberg) employs “extremely large” SES preferences, Doc. 166-8, EX 57

at 58—when UNC utilizes racial preferences of even larger magnitude. Specifically, Professor

Hoxby claims that an SES preference Mr. Kahlenberg employs equates to 278 points



applicants, … nearly 42% of African-American in-state admissions, … 70% of out-of-state Hispanic
admissions, [and] 91% of out-of-state African-American admissions.” Arcidiacono Reply Rep. 46; see
also id. at 47-50; SFFA Br. 31-32.


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on the SAT, id., but her own methodology reveals that UNC’s racial preferences for

out-of-state URMs equate to nearly 400 points on the SAT for African-American

applicants. SFFA Br. 21-22; Arcidiacono Reply Rep. 8. Given that UNC’s own expert

analysis confirms that UNC’s racial preferences are enormous, the record evidence is

clear that UNC does not use race merely as a “plus” factor to achieve the educational

benefits of diversity. No reasonable factfinder could conclude otherwise.

II.     UNC is not entitled to summary judgment on its argument that it
        considered in good faith and correctly rejected race-neutral alternatives as
        unworkable.
        UNC is not entitled to summary judgment on SFFA’s claim that it is unnecessary

for UNC to use race to achieve racial diversity. UNC Br. 34-39. The record evidence

instead shows that SFFA is entitled to summary judgment. SFFA Br. 34-38. But if the

Court disagrees, then a trial is needed to resolve genuine factual disputes that are

material to resolution of this issue.

        As UNC concedes (at 34-35), it bears a heavy burden in proving that it lacks a

race-neutral alternative. SFFA Br. 34. First, UNC must prove that it considered race-

neutral alternatives, Grutter, 539 U.S. at 339, “before turning to racial classifications,”

Fisher I, 570 U.S. at 312 (emphasis added); accord Fisher II, 136 S. Ct. at 2211 (“[A]

university bears a heavy burden in showing that it had not obtained the educational

benefits of diversity before it turned to a race-conscious plan”); Parents Involved in Comm.

Schs. v. Seattle Sch. Dist. No.1, 551 U.S. 701, 735 (2007) (“[R]acial classifications [are]

permitted only ‘as a last resort.’”). And that consideration must be “serious” and in

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“good faith.” Grutter, 539 U.S. at 339. Second, UNC must prove that “no workable race-

neutral alternatives would produce the educational benefits of diversity.” Fisher I, 570

U.S. at 312. A race-neutral alternative need not be perfect; it only needs to achieve racial

diversity “about as well and at tolerable administrative expense.” Id. UNC receives “no

deference” on either question. Id. at 311.

        Even assuming that UNC considered race-neutral alternatives in good faith, but

see SFFA Br. 22-23, there is no doubt it has at least one workable alternative to the use

of race, id. 35-37. Kahlenberg Simulation 11 would increase the number of African-

American applicants in the admitted class, it would increase the number of Hispanic

applicants in the admitted class, it would increase the number of socioeconomically-

disadvantaged applicants in the admitted class, and it would increase the average GPA of

the admitted class. Id. at 36. Under this specific alternative, then, UNC can “achieve

sufficient diversity without using racial classifications.” Fisher I, 570 U.S. at 312.4

        Any suggestion that this race-neutral alternative would undermine “academic

quality,” UNC Br. 35, because the average SAT score of the admitted class would

drop—from 1305 to 1279—is meritless. To be certain, a race-neutral alternative is not

workable, inter alia, if it would “force [the university] to choose between a diverse



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           Perhaps because Kahlenberg’s simulations so clearly demonstrate that UNC has available
race-neutral alternatives, UNC resorts to suggesting that it was inappropriate for him to rely on
Professor Arcidiacono to implement the simulations as Kahlenberg directed. UNC Br. at 36 n.10. But
this is standard practice in the field and fits with their expertise in their respective fields. Kahlenberg
Rep. 65 & n.255.


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student body and a reputation for academic excellence.” Fisher II, 136 S. Ct. at 2213

(citing Grutter, 539 U.S. at 339). But a slight dip from the 90th percentile in SAT scores

to the 88th percentile is not the kind of “dramatic sacrifice” in academic quality that

would put UNC to such a choice. Grutter, 539 U.S. at 340. To repeat, the race-neutral

alternative must work “about as well”—not precisely replicate—the race-based

admissions system. Id. at 339. This alternative meets that standard as a matter of law. 5

        UNC’s remaining objections are factually irrelevant, legally foreclosed, or (in

most instances) both. UNC complains (at 35) that some of the proposed alternatives

would not maintain “the same level of racial diversity” as the current race-based system.

But that is immaterial because the criticism does not apply to Kahlenberg Simulation

11. As noted, the level of racial diversity would increase. In any event, UNC does not

have a vested right in freezing the “current level of racial diversity.” UNC Br. 35; Fisher

I, 570 U.S. at 311 (no compelling interest in maintaining a certain percentage of URM

enrollment). UNC instead must prove that, if URM enrollment decreases, it could not

achieve the “educational benefits of diversity.” Id. at 312. Yet UNC has not “concretely

demonstrated” that any particular drop in URM enrollment would be “significant in



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         Moreover, SAT scores may be more standardized than GPA, UNC Br. 21 n.4, but they must
be considered in context. That is, a “modest decline in SAT scores should be considered in light of
the greater level of socioeconomic disadvantage present in the class.” Kahlenberg Reply Rep. 51. For
example, UNC’s own expert has noted that whether a particular applicant “had more challenging
childhood circumstances” makes a difference. EX57 at 13 n.24. On top of that, UNC’s own internal
studies and the testimony of its officials underscore the fact that high school GPA is a better predictor
of college academic performance than the SAT. Kahlenberg Rep. at 45 n.165, 47-48 & n.170.


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any [educational] way, such as students’ capacity and willingness to learn,” Wessmann v.

Gittens, 160 F.3d 790, 799-800 (1st Cir. 1998), or lead to “racial isolation,” Parents

Involved, 551 U.S. at 727.

       UNC argues (at 35) that its expert’s simulations did not produce a “class with the

same level of racial diversity and academic preparedness as the University currently

achieves.” But that is immaterial because SFFA is not relying on Professor Hoxby’s

simulations. And she has not criticized this proposal. Indeed, UNC has not offered

expert testimony on the workability of SFFA’s alternatives. SFFA Br. 37. In any event,

applying the proper legal standard, it is clear that Professor Hoxby actually identified

two workable race-neutral alternatives: her 750/20% SES preference simulation and

her Top 5% plan simulation. Both of these simulations would increase both racial and

socioeconomic diversity while maintaining academic quality. See Kahlenberg Decl.

[Doc. 161], Ex. B (“Kahlenberg Rebuttal Rep.”) at 45-50.

       UNC argues (at 37) that Mr. Kahlenberg does not simulate alternatives such as

creating partnerships with disadvantaged high schools or increasing transfers from

community colleges. But that is immaterial because this alternative does not depend on

UNC “enhancing” such strategies. In any event, UNC is wrong. It could better utilize

wealth and geographic-based factors to improve race-neutral alternatives.6 And, as


       6
         Though UNC claims to lack access to applicant wealth data, see UNC Br. 36, it is “among
almost 400 colleges that … require parents seeking aid to fill out the College Board’s CSS Profile,”
which “is used by colleges to award institutional aid [and] includ[es] [wealth] data on small businesses
and primary residence home equity.” Kahlenberg Reply Rep. 14. Similarly, UNC could better utilize

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Kahlenberg showed, “the inclusion of additional socioeconomic factors and better

recruitment of low-income students” would enable both experts’ simulations to

“produce even greater racial, ethnic, and socioeconomic diversity.” Kahlenberg Rebuttal

Rep. 56 (emphasis added).

       Finally, in a last-ditch effort to avoid summary judgment, UNC (at 37-39)

mischaracterizes SFFA’s position as attempting to force it to pursue socioeconomic

diversity. This argument—that “socioeconomic diversity ... is not a substitute for racial

diversity,” UNC Br. 38—is a classic strawman. Under controlling precedent, UNC has

a compelling interest in the educational benefits of diversity, including racial diversity.

SFFA Br. 28. But it is equally clear that if UNC can achieve racial diversity through “a

nonracial approach ... then the university may not consider race.” Fisher I, 570 U.S. at

312 (quotations omitted). UNC, in other words, must show that it is “necessary” to use

racial classifications to achieve racial diversity. Id. at 309. UNC’s problem is that SFFA

has shown that it is unnecessary to use racial classifications to achieve racial diversity.

       That SFFA’s proposal achieves racial diversity by increasing the size of the

preference based on being socioeconomically disadvantaged changes nothing. The

Supreme Court has made clear that “altering the weight given to ... socioeconomic

factors” is a workable race-neutral alternative so long as it “does not force universities

to choose between a diverse student body and a reputation for academic excellence.”


neighborhood and school socioeconomic data that it currently possesses in order to “positive[ly]
impact … racial, ethnic, and socioeconomic diversity.” Id. at 15.


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Fisher II, 136 S. Ct. at 2213. As explained, that is the situation here. Perhaps UNC

disagrees with the Supreme Court decisions concerning race-neutral alternatives, just as

SFFA disagrees with the Supreme Court decisions allowing the use of race in

admissions at all. UNC Br. 5. But as UNC knows, the Supreme Court has the

“prerogative of overruling its own decisions,” whereas lower courts must follow them.

Rodriguez de Quijas v. Shearson/American Express, Inc., 490 U.S. 477, 484 (1989). Because

UNC has workable race-neutral alternatives, under controlling precedent it may not use

race in admissions.

                                   CONCLUSION
     For the foregoing reasons, SFFA respectfully requests that the Court deny

Defendants’ motion for summary judgment.




 Dated: March 4, 2019                             Respectfully submitted,




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                          CERTIFICATE OF WORD COUNT

       Pursuant to L.R. 7.3(d)(1), the undersigned certifies that this Brief complies with the

word limit contained in the Court’s Order filed August 28, 2018 (Docket No. 145) using the

word count feature of the word processing software in making this certification.


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                            CERTIFICATE OF SERVICE

      I hereby certify that I served the foregoing motion via the Court’s electronic filing

system, pursuant to the Electronic Filing Procedures, on all attorneys of record who have

entered an appearance by ECF in this matter.

      This the 4th day of March, 2019.

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